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     15                         UNITED STATES DISTRICT COURT
     16                       CENTRAL DISTRICT OF CALIFORNIA
     17                                     WESTERN DIVISION
     18
     19    SERGE HAITAYAN, JASPREET                   Case No. 2:17-cv-7454 JFW (JPRx)
           DHILLON, ROBERT ELKINS, and
     20    MANINDER “PAUL” LOBANA,                    DEFENDANT 7-ELEVEN, INC.’S
           individually, and on behalf of other       ANSWER TO THE AMENDED
     21    similarly situated,                        COMPLAINT
     22                       Plaintiffs,
     23         vs.
     24    7-ELEVEN, INC., a Texas corporation,
     25                       Defendant.
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38089457
                       DEFENDANT 7-ELEVEN, INC.’S ANSWER TO THE AMENDED COMPLAINT
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 1         Defendant 7-Eleven, Inc. (“7-Eleven”) responds to the correspondingly
 2   numbered paragraphs of plaintiffs’ Amended Complaint For Damages, Restitution,
 3   And Other Relief as follows.
 4         For convenience, 7-Eleven uses in this Answer the section headings contained
 5   in the Amended Complaint. However, 7-Eleven makes no admission as to any
 6   allegations contained in those headings.
 7                           I.     JURISDICTION AND VENUE
 8         1.      7-Eleven admits that it is a Texas Corporation. With respect to the
 9   remaining allegations contained in paragraph 1, they constitute conclusions of law to
10   which no responsive pleading is required. To the extent that a response is required,
11   7-Eleven denies knowledge or information sufficient to form a belief as to the truth of
12   the allegations contained in paragraph 1, except admits that plaintiffs purport to
13   invoke this Court’s jurisdiction under the statutes set forth in paragraph 1.
14         2.      7-Eleven lacks knowledge or information sufficient to form a belief as to
15   the truth of the allegations in paragraph 2, and therefore denies those allegations,
16   except admits that Serge Haitayan is a franchisee in Fresno, California.
17         3.      7-Eleven lacks knowledge or information sufficient to form a belief as to
18   the truth of the allegations in paragraph 3, and therefore denies those allegations,
19   except admits that Jaspreet Dhillon is a franchisee in Los Angeles, California.
20         4.      7-Eleven lacks knowledge or information sufficient to form a belief as to
21   the truth of the allegations in paragraph 4, and therefore denies those allegations,
22   except admits that Robert Elkins is a franchisee in San Diego County, California.
23         5.      7-Eleven lacks knowledge or information sufficient to form a belief as to
24   the truth of the allegations in paragraph 5, and therefore denies those allegations,
25   except admits that Maninder “Paul” Lobana is a franchisee in Ventura County,
26   California.
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 1         6.     The allegations contained in paragraph 6 constitute conclusions of law to
 2   which no responsive pleading is required. To the extent that the allegations contained
 3   in paragraph 6 may be deemed to allege facts, they are denied.
 4         7.     7-Eleven admits the allegations contained in the first sentence of
 5   paragraph 7. 7-Eleven denies any and all remaining allegations in paragraph 7.
 6         8.     7-Eleven denies the allegations contained in paragraph 8.
 7         9.     The allegations contained in paragraph 9 constitute conclusions of law to
 8   which no responsive pleading is required. To the extent that the allegations contained
 9   in paragraph 9 may be deemed to allege facts, they are denied.
10         10.    The allegations in paragraph 10 constitute conclusions of law to which
11   no responsive pleading is required. To the extent that the allegations contained in
12   paragraph 10 may be deemed to allege facts, they are denied.
13         11.    7-Eleven admits that Plaintiffs Dhillon and Lobana each entered into a
14   franchise agreement with 7-Eleven. With respect to the remaining allegations in
15   paragraph 11, they constitute conclusions of law to which no responsive pleading is
16   required. To the extent that these allegations may be deemed to allege facts, they are
17   denied.
18                    II.   GENERAL ALLEGATIONS AND FACTS
19                                 COMMON TO ALL COUNTS
20         12.    The allegations contained in paragraph 12 constitute conclusions of law
21   to which no responsive pleading is required. To the extent that the allegations
22   contained in paragraph 12 may be deemed to allege facts, they are denied.
23         13.    7-Eleven denies the allegations contained in paragraph 13, and refers to
24   the franchise agreement and Operations Manual for the full terms and provisions
25   thereof.
26         14.    7-Eleven admits that the franchise agreement requires franchisees to
27   comply with certain obligations, and refers to the franchise agreement for its proper
28   interpretation. With respect to the remaining allegations in paragraph 14, they
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 1   constitute conclusions of law to which no responsive pleading is required. To the
 2   extent that these allegations may be deemed to allege facts, they are denied. By way
 3   of further response, 7-Eleven states that it never “classifies” its franchisees as
 4   independent contractors; rather, its franchisees are independent business owners who
 5   enter into franchise agreements with 7-Eleven in which they agree, among other
 6   things, that they are not “employees” of 7-Eleven and are independent contractors.
 7         A.      7-ELEVEN’S RETAIL CONVENIENCE STORE BUSINESS
 8         15.     7-Eleven admits the allegations contained in paragraph 15.
 9         16.     7-Eleven denies the allegations contained in paragraph 16, except admits
10   that 7-Eleven is a franchisor of convenience stores in the United States, including
11   California.
12         B.      THE FRANCHISE AGREEMENT
13         17.     7-Eleven denies the allegations contained in paragraph 17, and refers to
14   the franchise agreements and the settlement agreement in 7-Eleven Owners for Fair
15   Franchising v. The Southland Corporation for the full terms and provisions thereof.
16         18.     7-Eleven admits the allegations contained in the first sentence of
17   paragraph 18. 7-Eleven denies any and all remaining allegations in paragraph 18, and
18   refers to any referenced franchise agreements for the full terms and provisions
19   thereof.
20         19.     7-Eleven admits the allegations contained in paragraph 19, except denies
21   that the 2004 franchise agreement was “approved pursuant to OFFF Litigation.”
22         C.      GENERAL CONTROLS UNDER DEFENDANT’S FA
23         20.     7-Eleven denies the allegations contained in paragraph 20, and refers to
24   the “2016 FTC disclosures” referenced in the Complaint for the full terms and
25   provisions thereof.
26         21.     7-Eleven denies the allegations contained in paragraph 21.
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 1                1.    Financial Controls
 2                      a.     Defendant’s Fees and Charges
 3         22.    7-Eleven denies the allegations contained in paragraph 22, except admits
 4   and avers that, in their respective franchise agreements, each plaintiff agreed to
 5   certain terms, and refers to the franchise agreements for the full terms and provisions
 6   thereof.
 7         23.    7-Eleven denies the allegations contained in paragraph 23, except admits
 8   and avers that, in their respective franchise agreements, each plaintiff agreed to
 9   certain terms, and refers to the franchise agreements for the full terms and provisions
10   thereof.
11                      b.     Defendant’s Control Over Money
12         24.    7-Eleven denies the allegations contained in paragraph 24, except admits
13   and avers that, in their respective franchise agreements, each plaintiff agreed to
14   certain terms, and refers to the franchise agreements for the full terms and provisions
15   thereof.
16                      c.     Defendant’s Control Over Accounting Matters
17         25.    7-Eleven denies the allegations contained in paragraph 25, except admits
18   and avers that, in their respective franchise agreements, each plaintiff agreed to
19   certain terms, and refers to the franchise agreements for the full terms and provisions
20   thereof.
21         26.    7-Eleven denies the allegations contained in paragraph 26, except admits
22   and avers that, in their respective franchise agreements, each plaintiff agreed to
23   certain terms, and refers to the franchise agreements for the full terms and provisions
24   thereof.
25                      d.     Defendant’s Control as Discretionary Secured Lender
26         27.    7-Eleven denies the allegations contained in paragraph 27, except admits
27   and avers that, in their respective franchise agreements, each plaintiff agreed to
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 1   certain terms, and refers to the franchise agreements for the full terms and provisions
 2   thereof.
 3         28.    7-Eleven denies the allegations contained in paragraph 28, except admits
 4   and avers that, in their respective franchise agreements, each plaintiff agreed to
 5   certain terms, and refers to the franchise agreements for the full terms and provisions
 6   thereof.
 7         29.    7-Eleven denies the allegations contained in paragraph 29, except admits
 8   and avers that, in their respective franchise agreements, each plaintiff agreed to
 9   certain terms, and refers to the franchise agreements for the full terms and provisions
10   thereof.
11         30.    7-Eleven denies the allegations contained in paragraph 30, except admits
12   and avers that, in their respective franchise agreements, each plaintiff agreed to
13   certain terms, and refers to the franchise agreements for the full terms and provisions
14   thereof.
15                2.    Work Controls
16                      a.     Work Without Pay Before Acceptance as a Franchisee
17         31.    7-Eleven denies the allegations contained in paragraph 31, except admits
18   and avers that, in their respective franchise agreements, each plaintiff agreed to
19   certain terms, and refers to the franchise agreements for the full terms and provisions
20   thereof.
21                      b.     Franchisees Must Operate Their Stores Every Day of
22                             the Year
23         32.    7-Eleven denies the allegations contained in paragraph 32, except admits
24   and avers that, in their respective franchise agreements, each plaintiff agreed to
25   certain terms, and refers to the franchise agreements for the full terms and provisions
26   thereof.
27         33.    7-Eleven denies the allegations contained in paragraph 33, except
28   admits and avers that, in their respective franchise agreements, each plaintiff agreed
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 1   to certain terms, and refers to the franchise agreements for the full terms and
 2   provisions thereof.
 3                         c.   Monies Paid To Franchisees for Their Work
 4         34.    7-Eleven denies the allegations contained in paragraph 34, except admits
 5   and avers that, in their respective franchise agreements, each plaintiff agreed to
 6   certain terms, and refers to the franchise agreements for the full terms and provisions
 7   thereof.
 8         35.    7-Eleven denies the allegations contained in paragraph 35, except admits
 9   and avers that, in their respective franchise agreements, each plaintiff agreed to
10   certain terms, and refers to the franchise agreements for the full terms and provisions
11   thereof.
12         36.    7-Eleven denies the allegations contained in paragraph 36, except admits
13   and avers that, in their respective franchise agreements, each plaintiff agreed to
14   certain terms, and refers to the franchise agreements for the full terms and provisions
15   thereof.
16         37.    7-Eleven denies the allegations contained in paragraph 37, except admits
17   and avers that, in their respective franchise agreements, each plaintiff agreed to
18   certain terms, and refers to the franchise agreements for the full terms and provisions
19   thereof.
20         38.    7-Eleven denies the allegations contained in paragraph 38.
21                3.       Operational Controls
22                         a.   Control Over Product and Services Sold
23         39.    7-Eleven denies the allegations contained in paragraph 39, except admits
24   and avers that, in their respective franchise agreements, each plaintiff agreed to
25   certain terms, and refers to the franchise agreements for the full terms and provisions
26   thereof.
27         40.    7-Eleven denies the allegations contained in paragraph 40, except admits
28   and avers that, in their respective franchise agreements, each plaintiff agreed to
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 1   certain terms, and refers to the franchise agreements for the full terms and provisions
 2   thereof.
 3                      b.     Control Over Sources Used to Acquire Product and
 4                             Services Sold
 5         41.    7-Eleven denies the allegations contained in paragraph 41, except admits
 6   and avers that, in their respective franchise agreements, each plaintiff agreed to
 7   certain terms, and refers to the franchise agreements for the full terms and provisions
 8   thereof.
 9         42.    7-Eleven denies the allegations contained in paragraph 42, except admits
10   and avers that, in their respective franchise agreements, each plaintiff agreed to
11   certain terms, and refers to the franchise agreements for the full terms and provisions
12   thereof.
13                      c.     Control Over How Products and Services Are Sold
14         43.    7-Eleven denies the allegations contained in paragraph 43, except admits
15   and avers that, in their respective franchise agreements, each plaintiff agreed to
16   certain terms, and refers to the franchise agreements for the full terms and provisions
17   thereof.
18         44.    7-Eleven denies the allegations contained in paragraph 44, except admits
19   and avers that, in their respective franchise agreements, each plaintiff agreed to
20   certain terms, and refers to the franchise agreements for the full terms and provisions
21   thereof.
22         45.    7-Eleven denies the allegations contained in paragraph 45.
23                      d.     Control Over Advertising
24         46.    7-Eleven denies the allegations contained in paragraph 46, except admits
25   and avers that, in their respective franchise agreements, each plaintiff agreed to
26   certain terms, and refers to the franchise agreements for the full terms and provisions
27   thereof.
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 1         47.    7-Eleven denies the allegations contained in paragraph 47, except admits
 2   and avers that, in their respective franchise agreements, each plaintiff agreed to
 3   certain terms, and refers to the franchise agreements for the full terms and provisions
 4   thereof.
 5         48.    7-Eleven denies the allegations contained in paragraph 48, except admits
 6   and avers that, in their respective franchise agreements, each plaintiff agreed to
 7   certain terms, and refers to the franchise agreements for the full terms and provisions
 8   thereof.
 9                      e.     Control Over Use of Store Premises
10         49.    7-Eleven denies the allegations contained in paragraph 49, except admits
11   and avers that, in their respective franchise agreements, each plaintiff agreed to
12   certain terms, and refers to the franchise agreements for the full terms and provisions
13   thereof.
14                      f.     Control Over Food Service Standards
15         50.    7-Eleven denies the allegations contained in paragraph 50, except admits
16   and avers that, in their respective franchise agreements, each plaintiff agreed to
17   certain terms, and refers to the franchise agreements for the full terms and provisions
18   thereof.
19         51.    7-Eleven denies the allegations contained in paragraph 51, except admits
20   and avers that it has an Operations Manual, and refers to that Manual for the full
21   terms and provisions thereof.
22         52.    7-Eleven denies the allegations contained in paragraph 52.
23                      g.     Control Over Information and ideas Generated from
24                             Store Operations
25         53.    7-Eleven denies the allegations contained in paragraph 53, except admits
26   and avers that, in their respective franchise agreements, each plaintiff agreed to
27   certain terms, and refers to the franchise agreements for the full terms and provisions
28   thereof.
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 1         54.    7-Eleven denies the allegations contained in paragraph 54, except admits
 2   and avers that, in their respective franchise agreements, each plaintiff agreed to
 3   certain terms, and refers to the franchise agreements for the full terms and provisions
 4   thereof.
 5         55.    7-Eleven denies the allegations contained in paragraph 55, except admits
 6   and avers that, in their respective franchise agreements, each plaintiff agreed to
 7   certain terms, and refers to the franchise agreements for the full terms and provisions
 8   thereof.
 9         56.    7-Eleven denies the allegations contained in paragraph 56, except admits
10   and avers that, in their respective franchise agreements, each plaintiff agreed to
11   certain terms, and refers to the franchise agreements for the full terms and provisions
12   thereof.
13         57.    7-Eleven denies the allegations contained in paragraph 57, except
14   admits and avers that, in their respective franchise agreements, each plaintiff agreed
15   to certain terms, and refers to the franchise agreements for the full terms and
16   provisions thereof.
17         58.    7-Eleven denies the allegations contained in paragraph 58, except admits
18   and avers that, in their respective franchise agreements, each plaintiff agreed to
19   certain terms, and refers to the franchise agreements for the full terms and provisions
20   thereof.
21                         h.   Control Over Maintenance of Store Premises and
22                              Equipment
23         59.    7-Eleven denies the allegations contained in paragraph 59, except admits
24   and avers that, in their respective franchise agreements, each plaintiff agreed to
25   certain terms, and refers to the franchise agreements for the full terms and provisions
26   thereof.
27         60.    7-Eleven denies the allegations contained in paragraph 60, except admits
28   and avers that, in their respective franchise agreements, each plaintiff agreed to
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 1   certain terms, and refers to the franchise agreements for the full terms and provisions
 2   thereof.
 3                      i.     Control Over General Business Operations
 4         61.    7-Eleven denies the allegations contained in paragraph 61, except admits
 5   and avers that, in their respective franchise agreements, each plaintiff agreed to
 6   certain terms, and refers to the franchise agreements for the full terms and provisions
 7   thereof.
 8         62.    7-Eleven denies the allegations contained in paragraph 62, except admits
 9   and avers that, in their respective franchise agreements, each plaintiff agreed to
10   certain terms, and refers to the franchise agreements for the full terms and provisions
11   thereof.
12         63.    7-Eleven denies the allegations contained in paragraph 63, except admits
13   and avers that, in their respective franchise agreements, each plaintiff agreed to
14   certain terms, and refers to the franchise agreements for the full terms and provisions
15   thereof.
16         64.    7-Eleven denies the allegations contained in paragraph 64, except admits
17   and avers that it has an Operations Manual, and refers to that Manual for the full
18   terms and provisions thereof.
19         65.    7-Eleven denies the allegations contained in paragraph 65, except admits
20   and avers that, in their respective franchise agreements, each plaintiff agreed to
21   certain terms, and refers to the franchise agreements for the full terms and provisions
22   thereof.
23         66.    7-Eleven denies the allegations contained in paragraph 66, except admits
24   and avers that, in their respective franchise agreements, each plaintiff agreed to
25   certain terms, and refers to the franchise agreements for the full terms and provisions
26   thereof.
27         67.    7-Eleven denies the allegations contained in paragraph 67, except admits
28   and avers that, in their respective franchise agreements, each plaintiff agreed to
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 1   certain terms, and refers to the franchise agreements for the full terms and provisions
 2   thereof.
 3         68.    7-Eleven denies the allegations contained in paragraph 68, except admits
 4   and avers that, in their respective franchise agreements, each plaintiff agreed to
 5   certain terms, and refers to the franchise agreements for the full terms and provisions
 6   thereof.
 7         69.    7-Eleven denies the allegations contained in paragraph 69, except admits
 8   and avers that, in their respective franchise agreements, each plaintiff agreed to
 9   certain terms, and refers to the franchise agreements for the full terms and provisions
10   thereof.
11         70.    7-Eleven denies the allegations contained in paragraph 70, except admits
12   and avers that, in their respective franchise agreements, each plaintiff agreed to
13   certain terms, and refers to the franchise agreements for the full terms and provisions
14   thereof.
15                      j.     Control Over Management of Store Employees
16         71.    7-Eleven denies the allegations contained in paragraph 71, except admits
17   and avers that, in their respective franchise agreements, each plaintiff agreed to
18   certain terms, and refers to the franchise agreements for the full terms and provisions
19   thereof.
20         72.    7-Eleven denies the allegations contained in paragraph 72, except admits
21   and avers that, in their respective franchise agreements, each plaintiff agreed to
22   certain terms, and refers to the franchise agreements for the full terms and provisions
23   thereof.
24         73.    7-Eleven denies the allegations contained in paragraph 73, except admits
25   and avers that, in their respective franchise agreements, each plaintiff agreed to
26   certain terms, and refers to the franchise agreements for the full terms and provisions
27   thereof.
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 1         74.    7-Eleven denies the allegations contained in paragraph 74, except admits
 2   and avers that, in their respective franchise agreements, each plaintiff agreed to
 3   certain terms, and refers to the franchise agreements for the full terms and provisions
 4   thereof.
 5         75.    7-Eleven denies the allegations contained in paragraph 75, except admits
 6   that it has an Operations Manual, and refers to the Operations Manual for the full
 7   terms and provisions thereof.
 8         76.    7-Eleven denies the allegations contained in paragraph 76.
 9                      k.     Oversight to Insure Compliance
10         77.    7-Eleven denies the allegations contained in paragraph 77, except admits
11   and avers that, in their respective franchise agreements, each plaintiff agreed to
12   certain terms, and refers to the franchise agreements for the full terms and provisions
13   thereof.
14         D.     ADDITIONAL FACTS RELEVANT TO THE
15                MISCLASSIFICATION OF FRANCHISEES
16         78.    7-Eleven denies the allegations in paragraph 78, except admits that the
17   Named Plaintiffs purport to bring claims individually and on behalf of Plaintiffs
18   against 7-Eleven for violation of laws under the FLSA and California law.
19                1.    Misclassification of Franchisees Under the FLSA
20                      a.     Judicial Construction of the Controlling Statutory
21                             Language
22         79.    The allegations contained in paragraph 79 constitute conclusions of law
23   to which no responsive pleading is required. To the extent that the allegations in
24   paragraph 79 may be deemed to allege facts, they are denied.
25         80.    The allegations contained in paragraph 80 constitute conclusions of law
26   to which no responsive pleading is required. To the extent that the allegations in
27   paragraph 80 may be deemed to allege facts, they are denied.
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 1                      b.     The Federal Six-Factor “Economic Realities” Test
 2         81.    The allegations contained in paragraph 81 constitute conclusions of law
 3   to which no responsive pleading is required. To the extent that the allegations in
 4   paragraph 81 may be deemed to allege facts, they are denied.
 5         82.    The allegations contained in paragraph 82 constitute conclusions of law
 6   to which no responsive pleading is required. To the extent that the allegations in
 7   paragraph 82 may be deemed to allege facts, they are denied.
 8                      c.     7-Eleven Franchisees are Employees Under the Six-
 9                             Factor Test
10                             i.     Factor No. 1: Right to Control
11         83.    7-Eleven denies the allegations contained in paragraph 83.
12         84.    7-Eleven denies the allegations contained in paragraph 84, except admits
13   and avers that, in their respective franchise agreements, each plaintiff agreed to
14   certain terms, and refers to the franchise agreements for the full terms and provisions
15   thereof.
16         85.    7-Eleven denies the allegations contained in paragraph 85, except admits
17   and avers that, in their respective franchise agreements, each plaintiff agreed to
18   certain terms, and refers to the franchise agreements for the full terms and provisions
19   thereof.
20         86.    7-Eleven denies the allegations contained in paragraph 86, except admits
21   and avers that, in their respective franchise agreements, each plaintiff agreed to
22   certain terms, and refers to the franchise agreements for the full terms and provisions
23   thereof.
24         87.    7-Eleven denies the allegations contained in paragraph 87, except admits
25   and avers that, in their respective franchise agreements, each plaintiff agreed to
26   certain terms, and refers to the franchise agreements for the full terms and provisions
27   thereof. By way of further response, 7-Eleven refers to the Operations Manual for the
28   full terms and provisions thereof.
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 1         88.    7-Eleven denies the allegations contained in paragraph 88, except admits
 2   and avers that, in their respective franchise agreements, each plaintiff agreed to
 3   certain terms, and refers to the franchise agreements for the full terms and provisions
 4   thereof. By way of further response, 7-Eleven refers to the Operations Manual for the
 5   full terms and provisions thereof.
 6                             ii.    Factor No. 2: Opportunity for Profit or Loss
 7                                    Based Upon Managerial Skill
 8         89.    7-Eleven denies the allegations contained in paragraph 89.
 9         90.    7-Eleven denies the allegations contained in paragraph 90.
10                             iii.   Factor No. 3: Relative Investment in Equipment,
11                                    Materials and Helpers
12         91.    7-Eleven denies the allegations contained in paragraph 91.
13                             iv.    Factor No. 4: Special Skill for Services Rendered
14         92.    7-Eleven denies the allegations contained in paragraph 92.
15                             v.     Factor No. 5: Permanence of the Working
16                                    Relationship
17         93.    The allegations contained in paragraph 93 constitute conclusions of law
18   to which no responsive pleading is required. To the extent that the allegations in
19   paragraph 93 may be deemed to allege facts, they are denied. 7-Eleven refers to the
20   franchise agreements for the full terms and provisions thereof.
21                             vi.    Factor No. 6: Whether Services Performed Are
22                                    An Integral Part of Employer’s Business
23         94.    The allegations contained in paragraph 94 constitute conclusions of law
24   to which no responsive pleading is required. To the extent that the allegations in
25   paragraph 94 may be deemed to allege facts, they are denied. 7-Eleven refers to the
26   franchise agreements for the full terms and provisions thereof.
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 1                             vii.   Summary of the FLSA Six-Factor Analysis
 2         95.    The allegations contained in paragraph 95 constitute conclusions of law
 3   to which no responsive pleading is required. To the extent that the allegations in
 4   paragraph 95 may be deemed to allege facts, they are denied.
 5         96.    7-Eleven denies the allegations contained in paragraph 96.
 6         97.    7-Eleven denies the allegations contained in paragraph 97.
 7         98.    7-Eleven denies the allegations contained in paragraph 98.
 8         99.    7-Eleven denies the allegations contained in paragraph 99.
 9         100. 7-Eleven denies the allegations contained in paragraph 100.
10         101. 7-Eleven denies the allegations contained in paragraph 101.
11                2.    Misclassification of Franchisees Under California Law
12                      a.     California Law
13         102. The allegations contained in paragraph 102 constitute conclusions of law
14   to which no responsive pleading is required. To the extent that the allegations in
15   paragraph 102 may be deemed to allege facts, they are denied.
16                      b.     The California Three-Prong Test for Employment
17         103. The allegations contained in paragraph 103 constitute conclusions of law
18   to which no responsive pleading is required. To the extent that the allegations in
19   paragraph 103 may be deemed to allege facts, they are denied. 7-Eleven refers to the
20   franchise agreements for the full terms and provisions thereof.
21                      c.     Franchisees are Employees Under Each Alternative Test
22                             i.     Alternative No. 1: Control Over Wages, Hours
23                                    and Working Conditions
24         104. The allegations contained in paragraph 104 constitute conclusions of
25   law to which no responsive pleading is required. To the extent that the allegations in
26   paragraph 104 may be deemed to allege facts, they are denied.
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                 DEFENDANT 7-ELEVEN, INC.’S ANSWER TO THE AMENDED COMPLAINT
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 1         105. The allegations contained in paragraph 105 constitute conclusions of law
 2   to which no responsive pleading is required. To the extent that the allegations in
 3   paragraph 105 may be deemed to allege facts, they are denied.
 4                             ii.    Alternative No. 2: Common Law Employment
 5                                    Test
 6         106. 7-Eleven denies that it is an employer of franchisees. The remaining
 7   allegations contained in paragraph 106 constitute conclusions of law to which no
 8   responsive pleading is required. To the extent that the allegations in paragraph 106
 9   may be deemed to allege facts, they are denied.
10         107. 7-Elevend denies the allegations contained in paragraph 107, except
11   admits and avers that, in their respective franchise agreements, each plaintiff agreed
12   to certain terms, and refers to the franchise agreements for the full terms and
13   provisions thereof.
14         108. The allegations contained in paragraph 108 constitute conclusions of law
15   to which no responsive pleading is required. To the extent that the allegations in
16   paragraph 108 may be deemed to allege facts, they are denied. 7-Eleven refers to the
17   franchise agreements for the full terms and provisions thereof.
18         109. The allegations contained in paragraph 109 constitute conclusions of law
19   to which no responsive pleading is required. To the extent that the allegations in
20   paragraph 109 may be deemed to allege facts, they are denied. 7-Eleven refers to the
21   franchise agreements for the full terms and provisions thereof.
22         110. The allegations contained in paragraph 110 constitute conclusions of law
23   to which no responsive pleading is required. To the extent that the allegations in
24   paragraph 110 may be deemed to allege facts, they are denied.
25         111. The allegations contained in paragraph 111 constitute conclusions of law
26   to which no responsive pleading is required. To the extent that the allegations in
27   paragraph 111 may be deemed to allege facts, they are denied. 7-Eleven refers to the
28   franchise agreements for the full terms and provisions thereof.
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 1         112. The allegations contained in paragraph 112 constitute conclusions of law
 2   to which no responsive pleading is required. To the extent that the allegations in
 3   paragraph 112 may be deemed to allege facts, they are denied. 7-Eleven refers to the
 4   franchise agreements for the full terms and provisions thereof.
 5         113. The allegations contained in paragraph 113 constitute conclusions of law
 6   to which no responsive pleading is required. To the extent that the allegations in
 7   paragraph 113 may be deemed to allege facts, they are denied. 7-Eleven refers to the
 8   franchise agreements for the full terms and provisions thereof.
 9                             iii.   Alternative No. 3: Suffer or Permit to Work
10         114. The allegations contained in paragraph 114 constitute conclusions of law
11   to which no responsive pleading is required. To the extent that the allegations in
12   paragraph 114 may be deemed to allege facts, they are denied. 7-Eleven refers to the
13   franchise agreements for the full terms and provisions thereof.
14         E.     OTHER REASONS WHY FRANCHISEES ARE MISCLASSIFIED
15                AS INDEPENDENT CONTRACTORS BY DEFENDANT
16         115. 7-Eleven denies the allegations contained in paragraph 115, except
17   admits and avers that, in their respective franchise agreements, each plaintiff agreed
18   to certain terms, and refers to the franchise agreements for the full terms and
19   provisions thereof.
20         116. 7-Eleven denies the allegations contained in paragraph 116, except
21   admits and avers that, in their respective franchise agreements, each plaintiff agreed
22   to certain terms, and refers to the franchise agreements for the full terms and
23   provisions thereof.
24         117. 7-Eleven denies the allegations contained in paragraph 117, except
25   admits and avers that, in their respective franchise agreements, each plaintiff agreed
26   to certain terms, and refers to the franchise agreements for the full terms and
27   provisions thereof.
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 1         118. 7-Eleven denies the allegations contained in paragraph 118, except
 2   admits and avers that, in their respective franchise agreements, each plaintiff agreed
 3   to certain terms, and refers to the franchise agreements for the full terms and
 4   provisions thereof.
 5         119. 7-Eleven denies the allegations contained in paragraph 119, except
 6   admits and avers that, in their respective franchise agreements, each plaintiff agreed
 7   to certain terms, and refers to the franchise agreements for the full terms and
 8   provisions thereof.
 9         120. 7-Eleven denies the allegations contained in paragraph 120, except
10   admits and avers that, in their respective franchise agreements, each plaintiff agreed
11   to certain terms, and refers to the franchise agreements for the full terms and
12   provisions thereof.
13         121. The allegations contained in paragraph 121 constitute conclusions of law
14   to which no responsive pleading is required. To the extent that the allegations in
15   paragraph 121 may be deemed to allege facts, they are denied.
16       III.   COLLECTIVE ACTION AND CLASS ACTION ALLEGATIONS
17         A.     FLSA Collective Action Allegations
18         122. The allegations contained in paragraph 122 constitute conclusions of law
19   to which no responsive pleading is required. To the extent that the allegations in
20   paragraph 122 may be deemed to allege facts, they are denied.
21         B.     Class Action Allegations
22                1.       California Overtime Class
23         123. The allegations contained in paragraph 123 constitute conclusions of law
24   to which no responsive pleading is required. To the extent that the allegations in
25   paragraph 123 may be deemed to allege facts, they are denied.
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 1                2.     California Expense Class
 2         124. The allegations contained in paragraph 124 constitute conclusions of law
 3   to which no responsive pleading is required. To the extent that the allegations in
 4   paragraph 124 may be deemed to allege facts, they are denied.
 5                                       IV.    CLAIMS
 6                                       COUNT ONE:
 7                  FAILURE TO PAY OVERTIME COMPENSATION
 8      IN VIOLATION OF THE FEDERAL FAIR LABOR STANDARDS ACT
 9         125. 7-Eleven denies the allegations in paragraph 125, except admits that
10   Count One purports to be pled by the FLSA Named Plaintiffs and all FLSA
11   Collective Action Plaintiffs, against Defendant.
12         126. The allegations contained in paragraph 126 constitute conclusions of law
13   to which no responsive pleading is required. To the extent that the allegations in
14   paragraph 126 may be deemed to allege facts, they are denied.
15         127. The allegations contained in paragraph 127 constitute conclusions of law
16   to which no responsive pleading is required. To the extent that the allegations in
17   paragraph 127 may be deemed to allege facts, they are denied.
18         128. The allegations contained in paragraph 128 constitute conclusions of law
19   to which no responsive pleading is required. To the extent that the allegations in
20   paragraph 128 may be deemed to allege facts, 7-Eleven denies that 7-Eleven had a
21   duty to record plaintiffs’ hours, knew of plaintiffs’ hours, had a duty to pay plaintiffs
22   for hours worked, that plaintiffs have worked hours for which overtime wages have
23   been owed, and denies knowledge or information sufficient to form a belief as to the
24   truth of the allegations in paragraph 128 relating to the work specifically performed
25   by plaintiffs. By way of further response, 7-Eleven states that it never “classifies” its
26   franchisees as independent contractors; rather, its franchisees are independent
27   business owners who enter into franchise agreements with 7-Eleven in which they
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 1   agree, among other things, that they are not “employees” of 7-Eleven and are
 2   independent contractors.
 3         129. The allegations contained in paragraph 129 constitute conclusions of law
 4   to which no responsive pleading is required. To the extent that the allegations in
 5   paragraph 129 may be deemed to allege facts, they are denied. By way of further
 6   response, 7-Eleven admits and avers that plaintiffs are seeking a monetary judgment
 7   under the FLSA, but denies that plaintiffs are entitled to any requested relief.
 8         130. 7-Eleven denies the allegations in paragraph 130, except admits and
 9   avers that plaintiffs are seeking liquidated damages under the FLSA, but denies that
10   plaintiffs are entitled to any requested relief.
11         131. 7-Eleven denies the allegations in paragraph 131, except admits and
12   avers that plaintiffs are seeking attorney’s fees and costs, and other relief pursuant to
13   the FLSA, but denies that plaintiffs are entitled to any requested relief.
14         132. 7-Eleven lacks knowledge or information sufficient to form a belief as to
15   the truth of the allegations in paragraph 132, and therefore denies those allegations.
16                                        COUNT TWO:
17                  FAILURE TO PAY OVERTIME COMPENSATION
18                         IN VIOLATION OF CALIFORNIA LAW
19         133. 7-Eleven denies the allegations in paragraph 133, except admits that
20   Count Two purports to be pled by the California Overtime Class Action Named
21   Plaintiffs and all California Overtime Class Action Plaintiffs, against Defendant.
22         134. The allegations contained in paragraph 134 constitute conclusions of law
23   to which no responsive pleading is required. To the extent that the allegations in
24   paragraph 134 may be deemed to allege facts, they are denied.
25         135. The allegations contained in paragraph 135 constitute conclusions of law
26   to which no responsive pleading is required. To the extent that the allegations in
27   paragraph 135 may be deemed to allege facts, they are denied.
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 1         136. The allegations contained in paragraph 136 constitute conclusions of law
 2   to which no responsive pleading is required. To the extent that the allegations in
 3   paragraph 136 may be deemed to allege facts, 7-Eleven denies that plaintiffs have
 4   worked hours for which overtime wages have been owed, and denies knowledge or
 5   information sufficient to form a belief as to the truth of the allegations in paragraph
 6   136 relating to the work specifically performed by plaintiffs. By way of further
 7   response, 7-Eleven states that it never “classifies” its franchisees as independent
 8   contractors; rather, its franchisees are independent business owners who enter into
 9   franchise agreements with 7-Eleven in which they agree, among other things, that
10   they are not “employees” of 7-Eleven and are independent contractors.
11         137. The allegations contained in paragraph 137 constitute conclusions of law
12   to which no responsive pleading is required. To the extent that the allegations in
13   paragraph 137 may be deemed to allege facts, they are denied. By way of further
14   response, 7-Eleven admits that plaintiffs are seeking a monetary judgment under
15   California Labor Code section 1194, but denies that plaintiffs are entitled to any
16   requested relief.
17         138. 7-Eleven denies the allegations in paragraph 138, except admits that
18   plaintiffs are seeking attorney’s fees and costs, and other relief under California
19   Labor Code section 1194, but denies that plaintiffs are entitled to any requested relief.
20                                     COUNT THREE:
21             FAILURE TO INDEMNIFY FOR EXPENSES AND LOSSES
22                        IN VIOLATION OF CALIFORNIA LAW
23         139. 7-Eleven denies the allegations in paragraph 139, except admits that
24   Count Three purports to be pled by the Named Plaintiffs and all California Expense
25   Class Action Plaintiffs, against Defendant.
26         140. The allegations contained in paragraph 140 constitute conclusions of law
27   to which no responsive pleading is required. To the extent that the allegations in
28   paragraph 140 may be deemed to allege facts, they are denied.
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 1         141. The allegations contained in paragraph 141 constitute conclusions of law
 2   to which no responsive pleading is required. To the extent that the allegations in
 3   paragraph 141 may be deemed to allege facts, they are denied.
 4         142. The allegations contained in paragraph 142 constitute conclusions of law
 5   to which no responsive pleading is required. To the extent that the allegations in
 6   paragraph 142 may be deemed to allege facts, they are denied.
 7         143. The allegations contained in paragraph 143 constitute conclusions of law
 8   to which no responsive pleading is required. To the extent that the allegations in
 9   paragraph 143 may be deemed to allege facts, they are denied. By way of further
10   response, 7-Eleven admits that plaintiffs are seeking a monetary judgment under
11   California Labor Code section 2802, but denies that plaintiffs are entitled to any
12   requested relief.
13         144. The allegations contained in paragraph 144 constitute conclusions of law
14   to which no responsive pleading is required. To the extent that the allegations in
15   paragraph 144 may be deemed to allege facts, they are denied. By way of further
16   response, 7-Eleven admits that plaintiffs are seeking attorney’s fees and costs, and
17   other relief under California Labor Code section 2802, but denies that plaintiffs are
18   entitled to any requested relief.
19                                       COUNT FOUR:
20    FAILURE TO PROVIDE AND MAINTAIN UNIFORMS AND EQUIPMENT
21                        IN VIOLATION OF CALIFORNIA LAW
22         145. 7-Eleven denies the allegations in paragraph 145, except admits that
23   Count Four purports to be pled by the Named Plaintiffs and all California Expense
24   Class Action Plaintiffs, against Defendant.
25         146. The allegations contained in paragraph 146 constitute conclusions of law
26   to which no responsive pleading is required. To the extent that the allegations in
27   paragraph 146 may be deemed to allege facts, they are denied.
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 1         147. The allegations contained in paragraph 147 constitute conclusions of law
 2   to which no responsive pleading is required. To the extent that the allegations in
 3   paragraph 147 may be deemed to allege facts, they are denied.
 4         148. The allegations contained in paragraph 148 constitute conclusions of law
 5   to which no responsive pleading is required. To the extent that the allegations in
 6   paragraph 148 may be deemed to allege facts, they are denied.
 7         149. The allegations contained in paragraph 149 constitute conclusions of law
 8   to which no responsive pleading is required. To the extent that the allegations in
 9   paragraph 149 may be deemed to allege facts, they are denied. By way of further
10   response, 7-Eleven admits that plaintiffs are seeking a monetary judgment under
11   California Code of Regulations, title 8, section 11070, subsection 9, but denies that
12   plaintiffs are entitled to any requested relief.
13                                        COUNT FIVE:
14                 UNFAIR BUSINESS PRACTICES IN VIOLATION OF
15             THE CALIFORNIA BUSINESS AND PROFESSIONS CODE
16         150. 7-Eleven denies the allegations in paragraph 150, except admits that
17   Count Five purports to be pled by the Named Plaintiffs and all Plaintiffs, against
18   Defendant.
19         151. The allegations contained in paragraph 151 constitute conclusions of law
20   to which no responsive pleading is required. To the extent that the allegations in
21   paragraph 151 may be deemed to allege facts, they are denied, except 7-Eleven
22   admits that it engages in business in California.
23         152. The allegations contained in paragraph 152 constitute conclusions of law
24   to which no responsive pleading is required. To the extent that the allegations in
25   paragraph 152 may be deemed to allege facts, they are denied.
26         153. The allegations contained in paragraph 153 constitute conclusions of law
27   to which no responsive pleading is required. To the extent that the allegations in
28   paragraph 153 may be deemed to allege facts, they are denied. By way of further
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 1   response, 7-Eleven admits that plaintiffs are seeking restitution, but denies that
 2   plaintiffs are entitled to any requested relief.
 3         154. The allegations contained in paragraph 154 constitute conclusions of law
 4   to which no responsive pleading is required. To the extent that the allegations in
 5   paragraph 154 may be deemed to allege facts, they are denied. By way of further
 6   response, 7-Eleven admits that plaintiffs are seeking injunctive relief, but denies that
 7   plaintiffs are entitled to any requested relief.
 8                                         COUNT SIX:
 9              UNLAWFUL BUSINESS PRACTICES IN VIOLATION OF
10             THE CALIFORNIA BUSINESS AND PROFESSIONS CODE
11         155. 7-Eleven denies the allegations in paragraph 150, except admits that
12   Count Six purports to be pled by the Named Plaintiffs and all Plaintiffs, against
13   Defendant.
14         156. The allegations contained in paragraph 156 constitute conclusions of law
15   to which no responsive pleading is required. To the extent that the allegations in
16   paragraph 156 may be deemed to allege facts, they are denied, except 7-Eleven
17   admits that it engages in business in California.
18         157. The allegations contained in paragraph 157 constitute conclusions of law
19   to which no responsive pleading is required. To the extent that the allegations in
20   paragraph 157 may be deemed to allege facts, they are denied.
21         158. The allegations contained in paragraph 158 constitute conclusions of law
22   to which no responsive pleading is required. To the extent that the allegations in
23   paragraph 158 may be deemed to allege facts, they are denied. By way of further
24   response, 7-Eleven admits that plaintiffs are seeking restitution, but denies that
25   plaintiffs are entitled to any requested relief.
26         159. The allegations contained in paragraph 159 constitute conclusions of law
27   to which no responsive pleading is required. To the extent that the allegations in
28   paragraph 159 may be deemed to allege facts, they are denied. By way of further
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 1   response, 7-Eleven admits that plaintiffs are seeking injunctive relief, but denies that
 2   plaintiffs are entitled to any requested relief.
 3                               V.     PRAYER FOR RELIEF
 4         7-Eleven denies that Plaintiffs, or any member of any putative class they seek
 5   to represent, are entitled to any relief, monetary, equitable or otherwise.
 6                            VI.     DEMAND FOR JURY TRIAL
 7         7-Eleven acknowledges Plaintiffs’ jury demand, but denies that Plaintiffs are
 8   entitled to a jury trial with respect to any of the equitable relief sought in the
 9   Amended Complaint.
10                                  AFFIRMATIVE DEFENSES
11         Without waiving or excusing the burden of proof of the named Plaintiffs and/or
12   the Putative Class members or admitting that Defendant has any burden of proof,
13   Defendant asserts the following affirmative defenses to Plaintiffs’ Amended
14   Complaint.
15                                       FIRST DEFENSE
16         Each of the claims fails to state a claim for which relief may be granted.
17                                     SECOND DEFENSE
18         Plaintiffs’ claims are barred, in whole or in part, by the doctrines of waiver,
19   estoppel, unclean hands and/or laches.
20                                      THIRD DEFENSE
21         Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of
22   limitations.
23                                     FOURTH DEFENSE
24         Plaintiffs’ claims are barred, in whole or in part, because Defendant’s alleged
25   acts or omissions did not cause plaintiffs to incur or sustain any damages.
26                                      FIFTH DEFENSE
27         Plaintiffs failed to use reasonable means under the circumstances to avoid or
28   minimize their alleged damages.
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 1                                      SIXTH DEFENSE
 2         7-Eleven at all times acted in good faith and with reasonable grounds for
 3   believing its actions were lawful.
 4                                     SEVENTH DEFENSE
 5         Each plaintiff has failed to comply with the requirements imposed by their
 6   franchise agreements and other agreements ancillary or collateral thereto.
 7                                     EIGHTH DEFENSE
 8         Plaintiffs’ claims are barred, in whole or in part, by the express terms of their
 9   respective franchise agreements and other agreements ancillary or collateral thereto.
10                                      NINTH DEFENSE
11         Plaintiffs do not qualify as non-exempt employees under the Fair Labor
12   Standards Act or California Law.
13                                      TENTH DEFENSE
14         Plaintiffs are not entitled to overtime wages under the Fair Labor Standards Act
15   or California law.
16                                 ELEVENTH DEFENSE
17         Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ alleged
18   damages were cause by Plaintiffs’ own acts and/or omissions.
19                                     TWELFTH DEFENSE
20         Plaintiffs’ claims are preempted, in whole or in part, by the Federal Trade
21   Commission’s Franchise Rule, 16 C.F.R. §§ 436, 437.
22                                THIRTEENTH DEFENSE
23         Plaintiffs’ claims are barred because Plaintiffs have released the right to seek
24   relief for the conduct alleged in the Amended Complaint.
25                                FOURTEENTH DEFENSE
26         Plaintiffs’ claims are barred by the fact that Plaintiffs are independent
27   contractors as a matter of law.
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 1                                   FIFTEENTH DEFENSE
 2         Plaintiffs’ claims are barred by payment, setoff, settlement, and/or accord and
 3   satisfaction.
 4                                   SIXTEENTH DEFENSE
 5         Plaintiffs’ claims are barred, in whole or in part, by the terms of the respective
 6   franchise agreements.
 7                                 SEVENTEENTH DEFENSE
 8         Plaintiffs’ claims are barred because, to the extent Plaintiffs are deemed
 9   employees (which they are not), Plaintiffs are exempt from any applicable minimum
10   wage and overtime laws on the grounds that they are bona fide executives,
11   administrative and/or professional persons.
12                                  EIGHTEENTH DEFENSE
13         7-Eleven lacks knowledge or information sufficient to form a belief as to
14   whether it has other, as yet unstated, defenses. 7-Eleven reserves the right to assert,
15   and hereby gives notice that it intends to rely upon, any other defense that may
16   become available or appear during discovery or otherwise, and reserves the right to
17   amend its Answer to assert any such defense.
18                                  NINETEENTH DEFENSE
19         Plaintiffs’ claims are barred, in whole or in part, by the equitable doctrines of
20   estoppel and/or quasi-judicial estoppel based on their sworn declarations under oath
21   and/or penalties of perjury that they are independent contractors in multiple tax
22   filings with applicable federal, state and/or local taxing authorities, as well as in their
23   franchise agreements with 7-Eleven, which they explicitly acknowledged were
24   entered into voluntarily.
25                                  TWENTIETH DEFENSE
26         Any alleged violation of the FLSA by Defendant was not willful, and therefore
27   all claims are limited to a two-year limitations period calculated from the “opt-in”
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 1   date of the Plaintiffs or any future plaintiff or member of the Putative Class who files
 2   her or his written consent to join this action.
 3                                TWENTY-FIRST DEFENSE
 4         Defendant at all times acted reasonably and in good faith in attempting to
 5   comply with any obligations it may have had under the FLSA and/or the California
 6   Labor Code to Plaintiffs and the Putative Class (all of which obligations are denied).
 7   Accordingly, liquidated damages are not available to Plaintiffs or members of the
 8   Putative Class under the provisions of the FLSA or the California Labor Code.
 9                              TWENTY-SECOND DEFENSE
10         To the extent Defendant is found to be an employer of Plaintiffs and/or of
11   Putative Class members, Plaintiffs and Putative Class Members are equally liable
12   because they are joint employers of themselves and the Putative Class members and
13   their employees.
14                               TWENTY-THIRD DEFENSE
15         Plaintiffs’ purported claims under the FLSA are barred in whole or in part by
16   the provisions of Section 10 of the Portal-to-Portal Act, 29 U.S.C. § 259, because any
17   actions taken or not taken by Defendant giving rise to this action were done in good
18   faith in conformity with and reliance upon written administrative regulations, orders,
19   rulings, approvals, interpretations, or written and unwritten administrative practices
20   or enforcement policies of the Administrator of the Wage and Hour Division of the
21   United States Department of Labor.
22                              TWENTY-FOURTH DEFENSE
23         Plaintiffs’ purported claims under the FLSA are barred in whole or in part by
24   the provisions of Section 11 of the Portal-to-Portal Act, 29 U.S.C. § 260, because any
25   acts or omissions by Defendant giving rise to this action were done in good faith and
26   with reasonable grounds for believing that the acts or omissions were not a violation
27   of the FLSA.
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 1                                TWENTY-FIFTH DEFENSE
 2          Defendant cannot be liable for any alleged violation of California Business and
 3   Professions Code Sections 17200 et. seq. because any such action, conduct and/or
 4   dealings with Plaintiffs and Putative Class members, if any, were lawful and were
 5   carried out in good faith and for legitimate business and economic considerations.
 6                                TWENTY-SIXTH DEFENSE
 7          Plaintiffs’ and Putative Class members have not suffered any loss of money or
 8   property as defined under the California Business & Professions Code Sections
 9   17200 et seq., and therefore lack standing to pursue some or all of the purported
10   claims alleged in the Amended Complaint.
11                             TWENTY-SEVENTH DEFENSE
12          Plaintiffs and Putative Class members cannot recover penalties or certain other
13   monetary remedies under California Business and Professions Code sections 17200 et
14   seq.
15                              TWENTY-EIGHTH DEFENSE
16          After-acquired evidence of Plaintiffs’ misconduct, if discovered, may bar some
17   or all of Plaintiffs’ claims, allegations or alleged damages.
18                               TWENTY-NINTH DEFENSE
19          The damages demanded by Plaintiffs in their Complaint must be set off
20   against, or reduced by any wages, compensation or other benefit received by
21   Plaintiffs or which was earnable or receivable with the exercise of due diligence by
22   Plaintiffs.
23                                   PRAYER FOR RELIEF
24          WHEREFORE, Defendant prays for judgment against Plaintiffs as follows:
25          1.     That Plaintiffs take nothing by way of their Amended Complaint;
26          2.     That Plaintiffs are not entitled to any damages, penalties, restitution,
27   injunctive relief, declaratory relief or any other legal or equitable remedy due to any
28   act or omission of Defendant;
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 1         3.     That the Amended Complaint be dismissed, in its entirety, with
 2   prejudice;
 3         4.     That judgment be entered in favor of Defendant and against Plaintiffs on
 4   the entire Amended Complaint and all causes of action;
 5         5.     For costs and attorney’s fees incurred by Defendant in connection with
 6   this action; and
 7         6.     For any other and further relief that the Court may deem just and proper.
 8
 9   Dated: November 30, 2017.           ARNOLD & PORTER KAYE SCHOLER LLP
10
11                                      By: /s/ James F. Speyer
                                            James F. Speyer
12                                          Attorneys for Defendant/Cross-Claimant
                                            7-Eleven, Inc.
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